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                               UNITED STATES DISTRICT COURT

                                    DISTRICT OF MAINE

UNITED STATES OF AMERICA,                   )
                                            )
                                            )
       v.                                   )       1:11-cr-00205-JAW-9
                                            )
KELVIN MALLY,                               )
                                            )
               Defendant                    )


               RECOMMENDED DECISION ON MOTION TO SUPPRESS

       This matter was heard on March 31, 2014, on Defendant’s Motion to Suppress. Through

his motion, Defendant contends that law enforcement lacked a legal basis to stop the vehicle in

which he was a passenger on November 4, 2011. Defendant, therefore, seeks to exclude from trial

the evidence obtained by law enforcement following the stop of the vehicle.

                                    FACTUAL BACKGROUND

       The evidence at the hearing revealed that in November 2011, the Maine Drug Enforcement

Agency (MDEA) was involved in an investigation of drug related activity focused on individuals

who either resided at or frequented a duplex located at 100-102 Ohio Street in Bangor, Maine.

Manuel Trinidad-Acosta and Pari Proffitt were among the individuals who were known to reside

at the Ohio Street location.

       During the investigation, law enforcement learned that several individuals from the Bronx,

New York, including Mr. Trinidad-Acosta and Ms. Proffitt, were involved in the sale and

distribution of cocaine in the Bangor area. As of November 3, 2011, law enforcement was aware

that Mr. Trinidad-Acosta regularly changed vehicles, and was last seen driving a black Lexus with

Maine registration plates.
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       As part of the investigation, on November 3, 2011, MDEA agents executed a search

warrant for the residence at 100-102 Ohio Street. Because the investigation had revealed that the

targets of the investigation had access to and had used dangerous weapons, MDEA enlisted the

assistance of the SWAT team. When law enforcement executed the warrant, the individuals in the

residence did not immediately come to the door or exit the building. As a result, law enforcement

used tear gas to force the individuals to exit the building. Law enforcement subsequently

conducted a search of the building.

       During the search, law enforcement did not find cash or cocaine, nor did they locate Ms.

Proffitt or Mr. Trinidad-Acosta. They did, however, find paperwork that included what law

enforcement believed to be drug transaction ledgers. Law enforcement also found paperwork that

included the names of some of the suspects, and the address (111 Garland Street) of another

residence for which Mr. Trinidad-Acosta and Ms. Proffitt were tenants.

       After obtaining a warrant, law enforcement conducted a search of the Garland Street

residence. In the search, law enforcement located a safe in which they found drugs and a firearm.

They also found certain paperwork, which included a lease in Ms. Proffitt’s name for a residence

at 39 Maple Street in Brewer, Maine.

       Upon learning of the Maple Street residence, MDEA Special Agent Lori Renzullo, who

had been involved in the searches, called Sergeant Anthony Pinnette of the Brewer Police

Department and requested that he drive by the Maple Street location. Special Agent Renzullo

informed Sgt. Pinnette that law enforcement was searching for Mr. Trinidad-Acosta and Ms.

Proffitt, who were known to drive a black Lexus with Maine plates.

       Sgt. Pinnette, in a marked Brewer police vehicle, located the residence, which is a multi-

family unit. From a distance, Sgt. Pinnette observed a black vehicle parked at the end of the



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driveway that was adjacent to the building. He could not identify the make of the vehicle, or the

license plate, but he believed that the vehicle was a Lexus.

       To avoid detection during his surveillance activities, Sgt. Pinnette relocated his position to

South Main Street, which is perpendicular to Maple Street. Once relocated, Sgt. Pinnette could

not see the Maple Street residence. However, because there was limited egress from Maple Street,

Sgt. Pinnette positioned himself to be able to see vehicles leaving Maple Street. Maple Street is a

relatively short residential street, which can be accessed from South Main Street. While the

primary means of egress directly from Maple Street is on to South Main Street, one could also exit

Maple Street to South Main Street by way of Winter Street.

       While stationed on South Main Street, Sgt. Pinnette observed a black vehicle enter South

Main Street from Maple Street. The vehicle looked similar to the vehicle that he saw in the

driveway at 39 Maple Street. Sgt. Pinnette followed the vehicle, and observed that the vehicle was

a Toyota with New York registration plates. Through the local dispatch, Sgt. Pinnette learned that

the vehicle was registered to Anna Maria Martinez of Bronx, New York. Special Agent Renzullo

had seen this name on an envelope in one of the residences that law enforcement searched earlier.

Sgt. Pinnette called Special Agent Renzullo to report his observations and the information that he

learned from dispatch. After listening to Sgt. Pinnette’s report, Special Agent Renzullo directed

Sgt. Pinnette to stop the vehicle. Sgt. Pinnette then stopped the vehicle, and eventually identified

Defendant as a passenger in the vehicle.

                                           DISCUSSION

       Defendant contends that law enforcement’s stop of the vehicle was unreasonable and,

therefore, the Court should grant the motion to suppress. More particularly, Defendant maintains

that because the vehicle was not the Lexus that Mr. Trinidad-Acosta and Ms. Proffitt were known



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to drive, and because one could not assume that a vehicle exiting Maple Street originated from 39

Maple Street, Sgt. Pinnette did not have a reasonable articulable suspicion that Mr. Trinidad-

Acosta or Ms. Proffitt was in the vehicle, or that the vehicle was otherwise related to criminal

activity.

        The Government bears the burden of establishing that its stop of the vehicle in question

complied with the Fourth Amendment. United States v. Lopez, 380 F.3d 538, 543 (1st Cir. 2004).

“The Fourth Amendment prohibits ‘unreasonable searches and seizures’ by the Government, and

its protections extend to brief investigatory stops of persons or vehicles that fall short of traditional

arrest.” United States v. Arvizu, 534 U.S. 266, 273 (2002) (citing Terry v. Ohio, 392 U.S. 1, 9

(1968)). To justify the warrantless stop of a vehicle, officers must be able to articulate why there

are “specific and articulable facts which, taken together with rational inferences,” generate a

reasonable suspicion that criminal activity “may be afoot.” Terry, 392 U.S. at 21, 30. This

standard, known as the “reasonable suspicion” standard, is easier to meet than the probable cause

standard required to obtain a warrant. However, the reasonable suspicion standard is not satisfied

if the officers point to facts that do nothing more than generate a hunch that a vehicle or its

occupants may be involved in criminal activity. Id. at 22. In satisfying this standard, officers are

able to rely on one another’s knowledge of the facts and circumstances to form the conclusion that

a stop is justified. United States v. Barnes, 506 F.3d 58, 63 (1st Cir. 2007) (“[R]easonable

suspicion can be imputed to the officer conducting a search if he acts in accordance with the

direction of another officer who has reasonable suspicion.”); United States v. Meade, 110 F.3d

190, 193 (1st Cir. 1997) (discussing the “fellow-officer/collective-knowledge rule”). Although

Defendant was only a passenger in the vehicle, he has standing to challenge the lawfulness of the




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stop because the stop resulted in the temporary seizure of his person. United States v. Campbell,

741 F.3d 251, 260 (1st Cir. 2013).

        In this case, given the totality of the information known to law enforcement, law

enforcement could reasonably have concluded that Mr. Trinidad-Acosta or Ms. Proffitt might have

been in the vehicle, or that the vehicle was otherwise involved in the drug activity that was the

subject of law enforcement’s investigation. That information includes the following: that as the

result of a lengthy investigation, law enforcement had reliable information that demonstrated that

Mr. Trinidad-Acosta and Ms. Proffitt were involved in the sale and distribution of illegal drugs;

that the search of two separate residences on November 3 revealed additional information to

support law enforcement’s belief that Mr. Trinidad-Acosta and Ms. Proffitt were involved in the

sale and distribution of illegal drugs; that the newly discovered evidence included information to

suggest that Mr. Trinidad-Acosta and Ms. Proffitt maintained several residences, including a

residence at 39 Maple Street in Brewer for which Ms. Proffitt was a tenant; that Mr. Trinidad-

Acosta and Ms. Proffitt, as well as others involved in the illegal drug activity, were from the Bronx,

New York; that Mr. Trinidad-Acosta was known to switch motor vehicles regularly, purportedly

to avoid detection; that Mr. Trinidad-Acosta and Ms. Proffitt were last seen driving a black Lexus;

that Sgt. Pinnette observed a black vehicle at 39 Maple Street in Brewer, which vehicle appeared

to look like a Lexus; that Sgt. Pinnette observed a similar vehicle exit Maple Street; that the vehicle

had New York license plates and was registered to Anna-Maria Martinez, a resident of Bronx,

New York; and that Anna-Maria Martinez’s name was on an envelope in one of the residences that

law enforcement searched.1



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  Special Agent Renzullo testified that she observed the name on an envelope that was among various papers that were
located during the search process. Defendant contends that because law enforcement did not confiscate any such
envelope, agent Renzullo’s testimony is not reliable. However, given the comparatively short period of time between

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         Although the vehicle was not the Lexus in which Mr. Trinidad-Acosta and Ms. Proffitt had

been known to travel, and despite the fact that Sgt. Pinnette did not observe the vehicle leave 39

Maple Street or identify the vehicle’s occupants, particularly when viewed collectively, the

information known to law enforcement was sufficient to justify the stop. At the time of the stop,

law enforcement had reason to believe that Mr. Trinidad-Acosta and Ms. Proffitt were involved in

illegal activity, Mr. Trinidad-Acosta and Ms. Proffitt, and others involved in the illegal activity

were from the Bronx, the vehicle was registered to a person from the Bronx whose name was found

on an envelope during one of the searches of the property of Mr. Trinidad-Acosta and Ms. Proffitt,

and the vehicle was similar to a vehicle that law enforcement observed moments before at a

residence leased to Ms. Proffitt. Given these facts, contrary to Defendant’s contention, the stop

was not the result of the mere “hunch” of the law enforcement officers involved in the

investigation. Rather, under the circumstances, law enforcement had a reasonable articulable

suspicion to stop the vehicle.

                                                  CONCLUSION

         Based on the foregoing analysis, the recommendation is that the Court deny Defendant’s

Motion to Suppress.

                                                    NOTICE

                  A party may file objections to those specified portions of a magistrate
         judge’s report or proposed findings or recommended decisions entered pursuant to
         28 U.S.C. § 636(b)(1)(B) for which de novo review by the district court is sought,
         together with a supporting memorandum, and request for oral argument before the
         district judge, if any is sought, within fourteen (14) days of being served with a
         copy thereof. A responsive memorandum and any request for oral argument before
         the district judge shall be filed within fourteen (14) days after the filing of the
         objection.



the search and Sgt. Pinnette identifying the owner of the vehicle, Sgt. Renzullo’s testimony that she recalled seeing
the name on an envelope is credible.

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             Failure to file a timely objection shall constitute a waiver of the right to de
      novo review by the district court and to appeal the district court’s order.


                                             /s/ John C. Nivison
                                             U.S. Magistrate Judge
             April 7, 2014




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